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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 21-MJ-94 (ZMF)
                                    :
 JON SCHAFFER,                      :
                                    :
       Defendant.                   :
____________________________________:

            CONSENT MOTION TO CONTINUE DETENTION HEARING

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files the above-captioned motion to continue the

detention hearing currently scheduled on April 6, 2021, for approximately two weeks to April

21, 2021. Granting the consent motion would be in the best interests of both parties. In support

thereof, the government states as follows:

   1. The government and counsel for the defendant have conferred and are continuing to

       communicate about this matter. There is voluminous and evolving discovery that

       impacts the question of detention. The government is in the process of producing

       preliminary discovery and anticipates making productions of voluminous discovery in

       the coming weeks, to include cell-phone extractions and surveillance video.

       Furthermore, the current restrictions on counsel, particularly those impacting defense

       counsel’s ability to communicate with his client, have slowed this process.

   2. For these reasons, including those explained under seal, both parties at the status

       hearing held on April 2, 2021, requested the court to toll Speedy Trial and to hold in

       abeyance the defendant’s motion to dismiss (ECF 4) that was filed on March 9, 2021.

       That request was granted, and a preliminary hearing and status date is now scheduled

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   for May 3, 2021.

3. The matter of detention that arises before this court stems from a Motion for Review

   of Detention Order (ECF 11) and Amended Motion for review of Detention Order

   (ECF 14) that were filed by the defendant on March 20 and 31, 2021, that collectively

   seek reversal of the detention order that was issued by Magistrate Judge Zia M. Faruqui

   on March 19, 2021. For the same reasons that animated the parties’ request to continue

   matters on April 2, 2021, both parties now request to continue the detention hearing

   currently scheduled on April 6, 2021, for approximately two weeks, to April 21, 2021.

   The parties agree that, unless otherwise requested, the government will file a response

   to the defendant’s motion for release on or before April 19, 2021.

4. Finally, the parties believe that the failure to grant this continuance “would deny

   counsel for the defendant . . . the reasonable time necessary for effective preparation,

   taking into account the exercise of due diligence,” 18 U.S.C. § 3161(h)(7)(B)(iv).

   Therefore, “the ends of justice served by the granting of such continuance [will]

   outweigh the best interests of the public and the defendant in a speedy trial,” 18 U.S.C.

   § 3161(h)(7)(A), and the parties request an order to that end. Wherefore, the parties

   respectfully request that the Court continue the detention hearing in this matter until

   April 21, 2021.



Dated: April 4, 2021

                                Respectfully submitted,

                                CHANNING B. PHILLIPS
                                ACTING UNITED STATES ATTORNEY


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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :               Case No. 21-MJ-94 (ZMF)
                                    :
 JON SCHAFFER,                      :
                                    :
       Defendant.                   :
____________________________________:

                                          ORDER

       This matter having come before the Court pursuant to a Motion to Continue Detention

Hearing, upon consent, it is therefore

       ORDERED that good cause exists to adjourn the Detention Hearing in this case from

April 6, 2021 to April 21, 2021. See Fed. R. Crim. P. 5.1(d). The parties shall appear for a

Detention Hearing at_______ on April 21, 2021.

       ORDERED that the government shall file a reply to the defendant’s Motions for Review

of Detention Order (ECFs 11, 14) on or by April 19, 2021.

       The Court finds that COVID-19 has presented complications here that make it difficult

for defense to meet with his client and prepare, that there is voluminous and evolving discovery,

and that delay is necessary for the parties to work on a potential resolution.

                                              It Is So Ordered.


                                              ______________________________________
                                              BERYL A. HOWELL
                                              Chief Judge
                                              United States District Court for the District of
                                              Columbia


Entered: ___________________________

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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Consent Motion to Continue Detention Hearing was
served upon counsel of record for the defendant through the electronic court filing system, this
4th day of April 2021.




                              By:
                                    Ahmed M. Baset
                                    Assistant United States Attorney




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